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IN THE UNITED STATES DISTRICT COURT 0540 \O
FOR THE WESTERN DISTRICT OF TENNESSEE 030 4 ‘C
EASTERN DIVISION n ,_ ,` ” &06
SHEILA BLANCHETT, h
Plaintiff,
VS. NO. OS-IZOO-T
METROPOLITAN LIFE INSURANCE
COMPANY,
Defendant.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Defendant Metropolitan Life Insurance Company has moved the court for permission
for Joel T. Galanter to participate B @ m this action. Mr. Galanter is a member in
good standing for the United States District Court for the Middle District of Tennessee.
For good cause shown, that motion is granted It is hereby ordered that Mr. Galanter

be admitted p_r_c_) ha£ vice and may actively participate in this action.

Q?MMZ)Q¢M

ES D. TODD
ITED STATES DISTRICT JUDGE

'BQWWS

DATE

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
case 1:05-CV-01200 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Joel T. Galanter

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
424 Church St.

Ste. 2800

Nashville, TN 372 l 9--232

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

Honorable J ames Todd
US DISTRICT COURT

